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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION


JOHN DOE,                                               No. 4:17-00079-RGE-SBJ

             Plaintiff,

v.
                                                        GRINNELL COLLEGE’S
GRINNELL COLLEGE, RAYNARD S.                            MEMORANDUM ON THE USE OF A
KINGTON, SARAH MOSCHENCROSS,                            PSEUDONYM BY PLAINTIFF
ANGELA VOOS, ANDREA B. CONNOR,
and BAILEY ASBERRY,

             Defendants.


       Defendant Grinnell College, (“Grinnell”) files this memorandum pursuant to Magistrate

Judge Jackson’s request for the position of the parties on the use of pseudonyms at trial.

                                              Introduction

       During the pretrial stage of this case Plaintiff was allowed to use a pseudonym. Now that

there will be a public, federal trial, Plaintiff must proceed under his real name.

                                              Discussion: The Law

       The relief Plaintiff seeks, to cloak himself in a veil of secrecy while asserting

serious claims against a non-profit institution, is exceptional. "Trial is a public event. What

transpires in the court room is public property." Craig v. Harney, 331 U.S. 367, 374 (1947).

Rule 10(a) mandates that a plaintiff identify the parties by name in the complaint. See Fed.

R. Civ. P. 10(a) (stating a plaintiff "shall include the names of all the parties"). Rule 17

requires that all civil actions be prosecuted in the name of the real party in interest. Case law

also reflects a strong judicial presumption against proceeding under a pseudonym. See, e.g.,

Doe v. Blue Cross & Blue Shield United, 112 F.3d 869, 872 (7th Cir. 1997); Doe v. Frank,
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951 F.2d 320 (323-324) (11th Cir. 1998); Southern Methodist Univ. Ass 'n of Women Law

Students v. Wynne & Jaffe, 599 F.2d 707, 712-13 (5th Cir. 1979).

       Rule 10(a) of the Federal Rules of Civil Procedure provides the “title of the

complaint must name all of the parties.” To proceed under pseudonym, Plaintiff must

demonstrate he “has a substantial privacy right which outweighs the ‘customary and

constitutionally embedded presumption of openness in judicial proceedings.” Doe v. Frank,

951 F. 2d 320, 323 (11th Cir. 1992) (per curiam) (quoting Doe v. Stegall, 653 F. 2d 180,

186 (5tgh Cir. Unit A 1981)); see also In re Ashley Madison Customer Data Sec. Breach

Litig., MDL No. 2669, 2016 WL 1366616 at *3 (E.D. Mo. Apr. 6, 2016). The intimate

nature of a suit alone is insufficient to justify Plaintiff's use of a pseudonym. Drake

University, Order (docket no. 40), at 4 (citing Doe v. Hartz, 52 F. Supp. 2d 1027, 1047

(N.D. Iowa 1999)).

       Plaintiff is not a victim of sexual assault. He admits being the aggressor in the sexual

encounters at issue. While courts sometimes grant motions to proceed under pseudonym for

plaintiffs who are victims of a sexual assault or child sexual abuse, see Roe v. St. Louis

Univ., No. 4:08-CV-1474-JCH, 2009 WL 910738, at *3 (E.D. Mo. Apr. 2, 2009); Doe HM

v. St. Louis Cnty., No. 4:07-CV-2116, CEJ, 2008 WL 151629, at *1 (E.D. Mo. 2008),

Plaintiff is an adult, not a minor. This weighs in favor of disclosing Plaintiff's identity. See

Drake University, Order (docket no. 40), at 5 (citing Sealed Plaintiff, 537 F.3d at 190

(fourth factor); Doe v. Pittsylvania County, 844 F. Supp. 2d 724, 729-30 (W.D. Va. 2012)).

       Cases that qualify as sufficiently intimate to justify pseudonym treatment include

those "involving abortion and birth control use, homosexuality and transsexuality, AIDS, and

the welfare of abandoned or illegitimate children." Ashley Madison Customer Data Sec.
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Breach Litig., 2016 WL 1366616, at *2 (E.D. Mo. Apr. 6, 2016) (citing Southern Methodist

Univ., 599 F.2d at 712-13 (citations omitted); Lindsey v. Dayton-Hydson Corp., 592 F.2d

1118, 1125 (10th Cir. 1979); Doe v. Blue Cross & Blue Shield of Wis., 112 F.3d 869, 872

(7th Cir. 1997); Doe v. Blue Cross & Blue Shield of Rhode Island, 794 F. Supp. 72, 74 (D.

R.I. 1992); WG.A. v. Priority Pharm., Inc., 184 F.R.D. 616 (E.D. Mo. 1999). These types of

intimate personal issue are not present here.

       Many Courts have declined to exercise their discretion to allow pseudonym treatment

based on speculative damage to future endeavors or reputation. See Ashley Madison, 2016

WL 1366616, at *2 (denying a motion to proceed under pseudonym based on "mere

embarrassment or harm to reputation"); Doe v. Hartz, 52 F. Supp. 2d 1027,

1046-1048 (N.D. Iowa 1999) (denying motion to proceed under pseudonym for a plaintiff

who alleged claims stemming from alleged sexual contact by a Catholic priest). A similar

result is appropriate here.

    Another factor that weighs against pseudonym treatment is the absence of governmental

parties in the case-Plaintiff is suing a private entity. See Drake University, Order (docket no.

40), at 6 (citing Sealed Plaintiff, 537 F.3d at 190 (fifth factor); Doe v. Frank, 951 F.2d 320,

323-324 (11th Cir. 1992) (per curiam); Pittsylvania County, 844 F. Supp. 2d at 730). And,

like Drake University, "the public's interest in knowing Plaintiffs identity is not 'atypically

weak."' Drake University, Order (docket no. 40), at 6 (quoting Sealed Plaintiff, 537 F.3d at

190 (ninth factor)).

                                            Media Interest

    Plaintiff through his attorneys, has generated media interest in this case. After this

Court’s ruling on summary judgment, Plaintiff’s attorneys held a press conference to crow
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about the “historic” nature of this case. https://whotv.com/2019/07/11/federal-judge-gives-

the-green-light-for-first-title-ix-sexual-misconduct-case-to-proceed-to-trial/. Even early on

this case received media attention. See Des Moines City View (Apr. 7, 2017), available at:

http://www.stormlake.com /articles/2017/04/07/register-dailv­and-sundav-circulation-falls-

another-10-percent-jailed-kent. In that article, Plaintiff is identified as a former student of

Grinnell from the state of Washington. Again, the media interest was generated by Plaintiff. He

should be precluded from generating public interest while hiding behind a pseudonym.

                                              Conclusion

    Defendant Grinnell College understands that pseudonym status was maintained during

discovery. Grinnell submits that Plaintiff cannot meet the heavy burden to justify proceeding

to trial under a pseudonym. Plaintiff cannot identify an interest that outweigh the vitally

important notion of the public nature of federal litigation. See Fed. R. Civ. P. l 0(a).

                                               /s/ Frank Boyd Harty
                                               Frank Boyd Harty
                                               Nyemaster Goode, P.C.
                                               700 Walnut Street, Suite 1600
                                               Des Moines, Iowa 50309
                                               Telephone: 515-283-3100
                                               Facsimile: 515-283-8045
                                               Email: fharty@nyemaster.com

                                               and

                                               /s/ Frances M. Haas
                                               Frances M. Haas
                                               Nyemaster Goode, P.C.
                                               625 First Street SE, Suite 400
                                               Cedar Rapids, Iowa 52401
                                               Telephone: 319-286-7000
                                               Facsimile: 319-286-7050
                                               Email: fmhaas@nyemaster.com

                                               ATTORNEYS FOR DEFENDANTS GRINNELL
                                               COLLEGE, RAYNARD S. KINGTON, SARAH

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                              MOSCHENCROSS, ANGELA VOOS, ANDREA
                              CONNOR, AND BAILEY ASBERRY




                    CERTIFICATE OF SERVICE



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       I hereby certify that on August 1, 2019 I electronically filed the foregoing document with
the Clerk of Court using the ECF system which will send notification of such filing to the
following:

David H. Goldman, Esq.
Phillip F. Van Liew, Esq.
BABICH GOLDMAN, P.C.
501 S.W. 7th Street, Suite J
Des Moines, Iowa 50309
Telephone: (515) 244-4300
Email: dgoldman@babichgoldman.com
Email: pvanliew@babichgoldman.com

        -AND-
Andrew T. Miltenberg, Esq. (pro hac vice)
Tara J. Davis, Esq. (pro hac vice)
NESNOFF & MILTENBERG, LLP
363 Seventh Avenue, Fifth Floor
New York, New York 10001
Telephone: (212) 736-4500
Email: AMiltenberg@nmllplaw.com
Email: tdavis@nmllplaw.com

ATTORNEYS FOR PLAINTIFF JOHN DOE




                                                    /s/ Nicole M. Graham




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